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         District Judge Brian C. Wimes (shelly_mcdowell@mow.uscourts.gov)
         --Non Case Participants:
         --No Notice Sent:

         Message-Id:<5384045@mow.uscourts.gov>
         Subject:Activity in Case 4:09-cr-00188-BCW USA v. Corredor et al Order on motion for order
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                                                      Western District of Missouri

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         Case Name:           USA v. Corredor et al
         Case Number:         4:09-cr-00188-BCW
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         Document Number: 903(No document attached)

         Docket Text:
         ORDER GRANTING [874] Motion to Assign a Civil Case Number to Adrian Dunn's Motion to
         Set Aside Customs and Border Protection Forfeiture proceeding. The Government is granted
         60 days in which to respond to Dunn's [872] Motion to Set Aside Forfeiture. Dunn's [875]
         Motion for Default Judgment pursuant to Rule 55 is DENIED. Dunn's [891] Motion for an Order
         Assigning a Civil Case Number and Defendant's Response [895] is DENIED AS MOOT. Signed
         on 05/23/16 by District Judge Brian C. Wimes. Copy of this text Order mailed to Adrian Dunn,
                      Case 4:16-cv-00493-BCW Document 1-7 Filed 05/23/16 Page 1 of 3

1 of 3                                                                                                                 5/31/2016 10:01 AM
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         No. 21571-045, RCC Forrest City (LOW), P.O. Box 9000, Forrest City, AR 72336 This is a TEXT
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         4:09-cr-00188-BCW-4 Notice has been electronically mailed to:

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                            Case 4:16-cv-00493-BCW Document 1-7 Filed 05/23/16 Page 2 of 3

2 of 3                                                                                                                  5/31/2016 10:01 AM
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         Ronald E. Partee
         Fox & Partee
         606 West 39th ST
         Kansas City, MO 64111




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